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                                                   #:6395
                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA


                                           CIVIL MINUTES – GENERAL

 Case No.       LA CV20-00169 JAK (DFM)                                          Date   March 11, 2025
 Title          Sonos, Inc. v. Google LLC




 Present: The Honorable                 JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                     Daniel Torrez                                         Not Reported
                        Deputy Clerk                                 Court Reporter / Recorder
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                          Not Present                                       Not Present


 Proceedings:                 (IN CHAMBERS) ORDER SETTING PRETRIAL DEADLINES (DKT. 73-1)

The Court has reviewed the parties’ February 10, 2025 Joint Report and sets the following deadlines:

         March 13, 2025                        Deadline to contact Magistrate Judge McCormick's
                                               Courtroom Deputy (CRD) to schedule a date for the
                                               settlement conference
         April 24, 2025                        Deadline to serve invalidity contentions

         May 5, 2025                           Last day to amend or add parties

         May 8, 2025                           Parties to exchange claim terms

         May 22, 2025                          Parties to exchange proposed constructions and evidence

         June 19, 2025                         Claim Construction Discovery Cut-Off

         June 26, 2025                         Joint Markman Prehearing Statement Due

         July 3, 2025                          Simultaneous Opening Markman Briefs Due

         July 17, 2025                         Simultaneous Responsive Markman Briefs, Tutorials, and
                                               Presentation Materials Due

         July 28, 2025                         Markman Hearing

         September 15, 2025                    Anticipated Ruling to be Issued on Markman Hearing

         October 14, 2025                      Patentee’s Deadline to Serve Final Infringement
                                               Contentions, Expert Reports on issues Where Patentee has
                                               Burden of Proof, All Parties Serve Advice of Counsel
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                                             Disclosures

         October 22, 2025                    Last day to participate in a settlement conference/mediation

         October 24, 2025                    Last day to file a notice of settlement or a joint report re
                                             status of settlement

         November 3, 2025, at 11:30 a.m.     Post Mediation Status Conference

         November 10, 2025                   Accused Infringer’s Deadline to Serve Final Invalidity
                                             Contentions, Rebuttal Expert Reports, and Opening Expert
                                             Reports Where Accused Infringer has Burden of Proof

         December 8, 2025                    Patentee’s Deadline to Serve for Rebuttal Expert Reports on
                                             Issues Where Accused Infringer has Burden of Proof

         January 12, 2026                    Discovery Cut-Off

         February 9, 2026                    Last day to file motions (including discovery motions)


The adoption of the dates for the Markman process recognizes that the parties have raised issues as to
the effect, if any, of the claim construction process during the International Trade Commission (“ITC”)
proceedings, but does not reflect a decision on those issues. Instead, the parties shall present any such
issues, including claims of estoppel, or whether any construction during the ITC proceedings is binding
due to the appellate review of the ITC decision, as part of the Markman process in this action.

The parties will be invited to submit proposed dates for the final pretrial conference and trial, if necessary,
upon the Court’s final ruling on the motions. The trial estimate will be set at the final pretrial conference.

The parties’ request to participate in a settlement conference with a Magistrate Judge is approved. The
parties shall meet and confer as to whether they will request leave to proceed with the settlement
conference with a Magistrate Judge other than Judge McCormick, because he is assigned to handle
certain disputed issues in this action, should they arise. If the parties make such a request, it shall be
made through a joint report filed within 14 days of the issuance of this Order, and shall state their
collective and/or respective positions as to the Magistrate Judge whose assignment for conducting the
settlement conference is requested. Based on a review of the joint report, a determination will be made as
to the Magistrate Judge who will oversee the settlement process, and the parties will be directed to
contact the CRD of that Magistrate Judge to schedule the settlement conference on a date on or before
the October 22, 2025 deadline. The parties are ordered to have a representative with authority to make
final decisions as to this matter present at the settlement conference. They are also ordered to comply
with all orders issued by the Magistrate Judge who will conduct the settlement conference as to the
process. If a settlement is reached, the parties are ordered to file a notice of settlement, with a proposed
date by which the matter will be dismissed. No appearance will be required on November 3, 2025, if such
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notice is filed on or before October 24, 2025. If a notice of settlement is not filed, counsel shall file a joint
report by October 24, 2025, regarding the procedural status of settlement discussions, including whether
they are ongoing, and if so, when the parties expect them to conclude. The joint report shall not disclose
the substantive contents of any settlement communications between the parties. Based on a review of
the joint report, a determination will be made whether the November 3, 2025 status conference will
proceed, be continued, or taken off calendar.

IT IS SO ORDERED.

cc: Magistrate Judge McCormick
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                                                             Initials of Preparer      DT




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